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Marcus A. Helt (Tx 24052187)

C. Ashley Ellis (TX 00794824)
Melina T. Bales (IX 24106851)
FOLEY GARDERE

FOLEY & LARDNER LLP

2021 McKinney Avenue, Suite 1600
Dallas, TX 75201

Telephone: 214.999.3000
Facsimile: 214.999.4667

COUNSEL TO DEBTORS
REAGOR-DYKES MOTORS, LP, et al.

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
LUBBOCK DIVISION

IN RE: §
§
REAGOR-DYKES MOTORS, LP, et al’ § Case No. 18-50214-rlj-11
§ Jointly Administered
Debtors. §

 

EMERGENCY MOTION FOR INTERIM AND FINAL ORDERS AUTHORIZING
THE DEBTORS TO INCUR POSTPETITION FINANCING

Reagot-Dykes Motors, LP, Reagor-Dykes Imports, LP, Reagor-Dykes Amarillo, LP, Reagor-
Dykes Auto Company, LP, Reagor-Dykes Plainview, LP, Reagot-Dykes Floydada, LP, Reagor-

Dykes Synder, L.P., Reagor-Dykes III LLC, Reagor-Dykes II LLC, Reagor-Dykes And Reagor Auto

 

Mall I LLC (collectively, “Reagor-Dykes” or the “Debtors”), as debtors and debtors-in-possession
in the above-styled and captioned case, hereby file this Emergency Motion jor Interim and Final Orders

Authorizing the Debtors to Incur Postpetition Financing (the “Motion”). In support of the Motion, the

 

Debtors respectfully represent as follows:

 

1 The Debtors are Reagor-Dykes Imports, I.P (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216),
Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218),
Reagor-Dykes Floydada, LP (Case No. 18-50219), Reagor-Dykes Snyder, L.P. (Case No. 18-50321), Reagor-Dykes
III LLC (Case No. 18-50322), Reagor-Dykes II LLC (Case No. 18-50323) and Reagor Auto Mall I LLC (Case No.
18-50325).

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I.
EXECUTIVE SUMMARY

1. Yesterday, the Debtors filed a chapter 11 plan of reorganization (the “Plan”). Under
the Plan, the McDougal-Dykes-Ewing Group (the “Plan Sponsor”) will provide up to $20.0 million
in equity financing to the reorganized entity. That equity financing will be used to recapitalize the
business, add jobs, repay creditors a meaningful amount, help consumers, and keep an important
civic partner in West Texas. To bridge from today to the plan confirmation, the Debtors secured a
commitment from International Bank of Commerce (“IBC Bank”) or the Plan Sponsor to lend up
to $4.75 million. That $4.75 million will be used to pay ordinary and necessary operating expenses
incutted from January 5, 2019, to plan confirmation, which is projected to be April 1, 2019. As
shown on the attached term sheet, the $4.75 mm will be lent to the Debtors in three phases — $1.0
mm from the Plan Sponsor + $2.0 mm from IBC Bank + $1.75 mm from IBC Bank. As part of
‘this proposed financing, IBC Bank will also agree to (a) certain “rent concession” that will benefit
the bankruptcy estates and (b) “toll” this debtot-in-possession financing into a post-confirmation
obligation of the reorganized debtors. To give the Debtors time to finalize the documentation on
this proposed financing with the Plan Sponsor and IBC Bank, and while the Debtors also fight Ford
Credit’s attempt to shut down this case and the business, Bart Reagor and Rick Dykes have agreed
to advance the first $1.0 mm to the Debtors on an administrative-expense basis as soon as this
financing is approved by this Court. The remaining $3.75 mm will be funded by IBC after the $1.0
mm is exhausted and as outlined in the attached term sheet.

2. Because this proposed financing is necessary for the Debtors to pay ordinary and
necessaty expenses incutted on the way to the proposed plan confirmation, it should be approved
on an interim basis first and then on a final basis. The proposed debtot-in-possession financing is in

the best interests of the bankruptcy estates and their stakeholders. It does not prime any lien on

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assets of the bankruptcy estates, and will provide liquidity necessary to work toward plan
confirmation. As a tesult, this Motion should be approved.

II.
JURISDICTION AND VENUE

3. The Coutt has jurisdiction over these matters pursuant to 28 U.S.C. §§ 1334 and 157.
These matters concern the administration of these bankruptcy estates; accordingly, the matters are
cote ptoceedings pursuant to 28 U.S.C. § 157(b)(2)(A). Venue in this District is proper pursuant to
28 U.S.C. §§ 1408 and 1409.

4. The legal predicates for the relief requested in this Motion are §§ 105(a), 364, 502,
1107(a), and 1108 of title 11 of the United States Code (the “Bankruptcy Code”), and rules 4001,
9007, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

III.
BACKGROUND

A. The Bankruptcy Case

5. On August 1, 2018 (the “Petition Date”), the Debtors filed voluntary petitions for
relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101, ef seg. (the
“Banktuptcy Code”), thereby initiating the above-captioned, jointly-administered bankruptcy cases
(collectively, the “Chapter 11 Case”) in the Bankruptcy Court for the Northern District of Texas
(the “Banktuptcy Court”) and creating their bankruptcy estates (the “Estates”). Together with
two non-debtor entities, Reagor Auto Mall, Ltd. and Reagor Dykes Snyder, LP, the Debtors operate
eight (8) dealerships with thirteen (13) locations — twelve (12) in West Texas and one (1) location in
Dallas — as a consolidated group (collectively, the “Dealerships”).

6. The Debtors continue to operate and to manage their businesses as “debtors-in-

possession” pursuant to sections 1107 and 1108 of the Bankruptcy Code. However, on August 21,

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2018, BlackBriar Advisors, L.L.P. (“BlackBriar”) was approved on an interim basis by the Coutt as
Chief Restructuring Officer to the Debtors [Docket No. 133].

7. On August 8, 2018, the Bankruptcy Court entered an order jointly administering the
Chapter 11 Case [Docket No. 34].

8. On August 9, 2018, Ford Motor Credit Company filed its motion for relief from the
automatic stay [Docket No. 46] (“Ford Credit’s Stay Relief Motion”). At Ford Credit’s request,
Fotd Credit’s Stay Relief Motion has been passed ot continued from time to time with the next
hearing set for January 8, 2019.

9. No trustee or examiner has been appointed. No official committee of unsecured
cteditors has been established.

10. On September 10, 2018, the Debtors filed their Motion for Entry of an Order (1)
Authorizing and Approving: (A) Bid Procedures; (B) Stalking Horse Bidder and Overbid Protections; and (C)
Form and Manner of Notices; (II) Scheduling an Auction and Sale Hearing; (III) Approving the Sale of
Substantially All the Assets of the Debtors, Free and Clear of All Liens, Claims, Encumbrances and Interests; and
(IV) Granting Related Relief [Docket No. 230] (the “Sale Motion”). By the Sale Motion, the Debtors
sought to sell substantially all of their assets (the “Sale”).

11. The Debtors conducted a sale process and received sale offers during that process.
The Debtors also received a proposal from the McDougal-Dykes-Ewing Group (the “Plan
Sponsor”) to recapitalize the business and ptovide a meaningful dividend to creditors. After
consultation with Ford Motor Credit, the Debtors determined that the proposal made by the Plan
Sponsor was materially better for the creditors than any outright sale offer. As a result, the Court
entered an order abating the Sale Motion, pending further order of the Court [Docket No. 712] (the
“Abatement Order”), and the Debtors started work on the Plan. The Plan was filed on January 7,

2019.

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12. Since the entry of the Abatement Order, and consistent with the representations by
the Debtots’ counsel to the Court on November 29, 2018, the Debtors have worked diligently to
secute financing and to draft the Plan, which sets for a viable path forward for the Debtors. The
Debtors filed the Plan prior to filing this Motion.

B. Cash Collateral

13. On August 2, 2018, the Debtors filed their Joint Emergency Motion for Authority to Use
Cash Collateral [Docket No. 8] (the “Cash Collateral Motion”). By the Cash Collateral Motion, the
Debtors sought authority to use the cash collateral of Ford Motor Credit Company (“Ford Credit”),
which assetts a lien on the Debtors’ inventory, as well as the proceeds, products, rents, issues, and
profits of such inventory. The Debtors offered Ford Credit standard cash-collateral protections,
including replacement liens.

14. On August 8, 2018, the Court entered the Interim Order (I) Authorizing the Debtor to Use
Cash Collateral of Ford Motor Company, (II) Granting Adequate Protection for Use Thereof, (II) Modifying the
Automatic Stay to Allow for the Relief Requested Herein and (IV) Scheduling Final Hearing (Docket No. 30}.

15. The Coutt entered additional intetim cash collateral orders, the most recent being the
Sixth Interim Order (1) Authorizing the Debtor to Use Cash Collateral of Ford Motor Company, (Il) Granting
Adequate Protection for Use Thereof, (UI) Modifying the Automatic Stay to Allow for the Rekef Requested Herein
and (IV) Scheduling Final Hearing [Docket No. 764] (the “Sixth Interim Cash Collateral Order”).
The Sixth Interim Cash Collateral Order authorized the Debtors to use cash collateral until Januaty
5, 2019.

16. On January 4, 2019, Ford Credit filed its Brief in Support of Ford Credit’s Company
LLC’s Motion for Relief from the Automatic Stay [Docket No. 785].

17. | On Januaty 6, 2019, the Debtors filed its objection to Ford Credit’s Stay Relief

Motion [Docket No. 788] (the “Lift Stay Objection”), which was amended by the Debtors on

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January 7, 2019. As set forth in the Lift Stay Objection, the Debtors assert that, among other things,
the vehicles subject to Ford Credit’s alleged security interests are nmecessaty to an effective
reotganization and that Ford Credit is adequately protected. Therefore, the Court should deny F ord
Credit’s Stay Relief Motion.

IV.
RELIEF REQUESTED AND BASIS THEREFOR

A, The DIP Facility

18. To get from today to plan confirmation, the Debtors need financing to operate and
to confirm the Plan. Following a great deal of effort and diligence, the Debtors secuted a
commitment ftom (a) the Plan Sponsor or Batt Reagor’ and Rick Dykes to lend up to $1.0 million
(the “Plan Sponsor DIP Facility”) and (b) IBC Bank to lend up to $3.75 million (the “IBC DIP
Facility,” together with the Plan Sponsor DIP Facility, the “DIP Facility”) to allow the Debtors to
emetge from bankruptcy. This lending is undet the terms outlined herein and in the term sheet the
“Term Sheet” attached as Exhibit A and will be used to sustain operations until plan confirmation.

19. Ford Credit has refused use of cash collateral, and the Debtors have been unable,
pursuant to sections 364(a) or (b) of the Bankruptcy Code, to obtain any unsecured credit or credit
allowable under section 503(b)(1) of the Bankruptcy Code, respectively, other than outlined in this
Motion. Therefore, the Debtors have been unable to obtain credit on terms more favorable than
those summarized below and on Exhibit A.

20. Accordingly, the Debtors have determined that, in the exercise of theit sound
business judgment and with the best interests of the Debtors’ creditors and employees in mind, the
postpetition financing represented by the DIP Facility is absolutely necessary. Bart Reagor, Rick

Dykes, and IBC Bank have agreed to provide DIP Facility on an interim and final basis on the tetms

 

2 Bart Reagor has no role in the McDougal-Dykes-Ewing Group.

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outlined herein and Exhibit “A” and putsuant to an interim order in a form approved by Bart
Reagor, Rick Dykes, and IBC Bank, to be submitted by the Debtors to the Court.

21. Rick Dykes and Bart Reagor ate willing to make the emergency $1.0 million loan on
an administrative-expense basis to the Debtors so that they could secure the rest of the DIP Facility
from IBC Bank. IBC Bank is willing to make loans and other financial accommodations to the
Debtors but only in accordance with and on the terms and conditions set forth in the Term Sheet.
Shortly before filing this Motion, the Debtors filed the Plan. The Plan shows how the Debtors will
exit bankruptcy in a way that benefits West Texas, consumers, retail lendets, secured creditors,
unsecured creditors, and other parties in interest. The DIP Facility will provide the Debtors with
time to finalize and confirm the Plan.

22. By this Motion, pursuant to sections 105, 361, 362, and 364 364 and to Bankruptcy
Rules 2002, 4001, and 6004, the Debtors seek, among other things, the following:

(a) authorization to obtain the financing from Bart Reagor, Rick
Dykes, and IBC Bank identified in the DIP Facility as
described herein;

(b) authorization to execute and perform such other and further
acts as may be required in connection with the DIP Facility;

(c) granting of the claims and rights under section 364(c)(1), (2),
and (3) of the Bankruptcy Code as outlined in paragraph 26;
and

(d) pursuant to Bankruptcy Rule 4001, that interim hearing (the
“Interim Heating”) on the Motion be held before this
Court to consider entry of a proposed order granting the
telief requested herein on an interim basis and a final hearing
(the “Final Hearing”) on the Motion be held before this
Court to consider entry of a proposed order granting the
relief requested herein on a final basis.

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B. Need for Emergency Relief

23. The Debtors bring this Motion on an emergency basis, given the immediate and
irreparable harm that will be suffered by the Debtors if denied the ability to obtain credit as outlined
in the Term Sheet. Such credit is necessary for the Debtors to sustain business operations, employ
its employees, operate as a going concern, and confirm the Plan. The DIP Facility will permit the
Debtors to, among other things, preserve the value of the Estates through Plan confirmation.

24. Absent immediate use of such DIP Facility financing, the Debtors may be forced to
immediately cease doing business, terminate employees, and shutter an important West Texas
employer and civil partner. To avoid such an unnecessarily harsh result, the Debtors need to ensute
the availability of such working capital now.

25. The Debtors, Bart Reagor and Rick Dykes, and IBC Bank have engaged in good-
faith and extensive arm’s-length negotiations that culminated in the agreement by such financiers to
provide the DIP Facility on the terms and conditions set forth in the Term Sheet.

26. In summary, the DIP Facility provides for an initial $1 million infusion of capital
into the Debtors. Upon exhaustion of such $1 million, another $2 million will be infused into the
Debtors (the “IBC Phase I DIP Facility”), subject to and consistent with weekly budgets
approved by IBC Bank and the Term Sheet. IBC Bank will thereafter fund up to an additional $1.75
million (the “IBC Phase II DIP Facility”), also subject to and consistent with weekly budgets
approved by IBC Bank and consistent with other terms and conditions set forth in the Term Sheet.
From and after funding until the Effective Date of the Plan pursuant to the Term Sheet, interest will
acctue monthly at 6% fixed per annum and be payable by the Debtors monthly. As outlined herein
and in the Term Sheet, the DIP Facility will be secured under Bankruptcy Code section 364(c) with
(a) a supet-priority administrative expense claim, (b) liens on property of the estate not already

subject to liens other than commercial torts and avoidance actions (provided that such exclusion is

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only to the extent such claims and actions end up being encumbered pursuant to the Court granting
an adequate protection lien in favor of Ford Credit), and (c) a junior lien on encumbered property,
all subject to a catve-out for allowed professional fees (the “Carve-Out”) not to exceed $900,000.
The DIP Facility is subject to certain conditions, including Plan confirmation on ot before May 1,
2019, granting IBC Bank an allowed unsecured claim for approximately $2.6 million for overdraft
liability, a prohibition against any material adverse change, and a prohibition against the granting of
any stay-relief motion.
C. Applicable Authority
@ Postpetition Financing
27. — Section 364 of the Bankruptcy Code distinguishes among (a) obtaining unsecured
credit in the ordinary course of business, (b) obtaining unsecured credit outside the ordinary course
of business, and (c) obtaining credit with specialized priority or on a secured basis. If a debtor-in-
possession cannot obtain post-petition credit on an unsecured basis under section 364(a) ot (b) of
the Bankruptcy Code, then the court may authorize that debtor to obtain credit ot to incur debt that
is entitled to superpriority administrative-expense status, secured by a senior lien on unencumbered
ptopetty, a junior lien on encumbered property, or a combination of the foregoing pursuant to
section 364(c).
28. Bankruptcy Rule 4001(c) governs the procedures for obtaining authorization to
obtain postpetition financing. That section provides, in relevant part, the following:
The court may commence a final hearing on a motion for authority
to obtain credit no earlier than 14 days after service of the motion. If
the motion so requests, the court may conduct a hearing before such
14-day period expires, but the court may authorize the obtaining of

ctedit only to the extent necessary to avoid immediate and irreparable
harm to the estate pending a final hearing.

 

3 Tf this Court grants Ford Credit an adequate-protection to the extent of diminution in value, then IBC Bank, the Plan
Sponsor, Bart Reagor, and Rick Dykes all object to any such lien on commercial torts against Ford Credit (or any
affiliates thereof). The Debtors also so object.

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Fed. R. Bankr. P. 4001(c)(2). Accordingly, the Coutt is authorized to grant the relief requested
herein.

(ii) — Approval Under Section 364(c)

29. The statutory requirement for obtaining postpetition credit under section 364(c) is a
finding, made after notice and a heating, that the debtor-in-possession is “unable to obtain
unsecured credit allowable under section 503(b)(1) of [the Bankruptcy Code] as an administrative
expense.” See In re Babcok and Wilcox Co., 250 F.3d 955, 957 (5th Cir. 2001); In re Garland Corp., 6
BR. 456, 461 (1st Cit. BAP 1980); In re Crouse Group, Inc, 71 B.R. 544, 549 (Bankr. E.D. Pa. 1987)
(opining that a debtor seeking unsecured ctedit under section 364(c) must prove that it was unable
to obtain unsecuted credit pursuant to § 364(b)); In re Ames Dept. Stores, Inc., 115 B.R. 34, 37-39
(Bankr. S.D.N-Y. 1990) (debtor must show that it has made a reasonable effort to seek other sources
of financing under section 364(a) and (b)).

30. The Debtors were unable to obtain postpetition financing on the terms and of the
type required in this Chapter 11 case on an unsecured basis or on any terms othet than those
contained in the Term Sheet.

31. To show that the credit required is not obtainable on an unsecured basis, a debtor
need only demonstrate “a good-faith effort that credit was not available” without the protections
afforded to potential lenders by section 364(c). Bray v. Shenandoah Federal Savings ¢ Loan Assn. (In re
Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cit. 1986). Thus, “[t]he statute imposes no duty to seek
credit from every possible lender before concluding that such credit is unavailable.” Id.; see also Ames,
115 B.R. at 40 (holding that debtor made a reasonable effort to secure financing when it selected the
least onerous financing option from the remaining two lenders). Moreover, where few lenders are

likely to be able and willing to extend the necessary credit to a debtor, “it would be unrealistic and

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unnecessary to require [the debtor] to conduct an exhaustive search for financing.” In re Sky Valley,
Inc, 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988), aff'd, Anchor Savings Bank FSB ». Sky Valley, Inc., 99
B.R. 117, 120 n.4 (N.D. Ga. 1989).

32. At the hearing to approve this Motion, the Debtors will show that they contacted
lending institutions as well as non-traditional sources of financing to see if they could receive terms
mote favorable than the terms outlined in the Term Sheet. However, none of these institutions wete
willing to make a post-petition loan on an unsecuted basis or otherwise. Thetefote, the Debtors
sought to borrow money ftom IBC Bank as set forth in the Term Sheet.

33. The Debtors’ efforts to seek necessaty postpetition financing from other
sophisticated lending institutions satisfy the statutory requirements of section 364(c). See, ¢.g., Ames,
115 B.R. at 40 (approving section 364(c) financing facility and holding that the debtor made
reasonable efforts to obtain less onerous terms when it approached four lending institutions, was
rejected by two, and selected the least onerous financing option from the remaining two lenders); In
re Reading Tube Indus., 72 B.R. 329, 332 (Bankr. E.D. Pa. 1987) (tequiting demonstration that less
onetous financing was unavailable); In re Phoenix Steel Corp., 39 B.R. 218, 222 n.9 (D. Del. 1984).

34, Without the financing provided by the DIP Facility, the going-concern value of the
Estates will immediately and irreparably plummet in value as the Debtors may be forced to quickly
cease business operations. The value being preserved through the use of the DIP Facility clearly
shows that all stakeholders of the Estates will benefit. Accordingly, the requirement of section
364(c) is met, and this Court should authorize the DIP Facility.

(iit) Bart Reagor, Rick Dykes, and IBC Bank Should be Deemed Good-
Faith Lenders under Bankruptcy Code Section 364(e)

35. Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right to collect

on loans extended to a debtor, and its right in any lien securing those loans, even if the authority of

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the debtor to obtain such loans or grant such liens is later reversed or modified on appeal.
Specifically, section 364(e) of the Bankruptcy Code provides that:

The reversal or modification on appeal of an authorization under this section

[364 of the Bankruptcy Code] to obtain credit or incur debt, or of a grant

under this section of a priority or a lien, does not affect the validity of any

debt so incurred, or any priority or lien so granted, to an entity that extended

such credit in good faith, whether or not such entity knew of the pendency

of the appeal, unless such authorization and the incurring of such debt, or

the granting of such priority or lien, were stayed pending appeal.
11 U.S.C. § 364(e).

36. Section 364(e) of the Bankruptcy Code was designed to “encourage the extension of
ctedit” to debtors by allowing lenders to “rely on a bankruptcy court’s authorization of the
transaction.” In re EDC Holding Co., 676 F.2d 945, 947 (7th Cir. 1982) (the purpose of section 364(e)
is to “overcome people’s natural reluctance to deal with a bankrupt firm whether as a purchaser or
lender by assuring them that so long as they are relying in good faith on a bankruptcy judge’s
approval of the transaction they need not worty about their priority merely because some creditor is
objecting to the transaction and is trying to get the district court or the court of appeals to reverse
the bankruptcy judge.”). See also In re North Atlantic Millwork Corp., 155 B.R. 271, 279 (Bankr. D.
Mass. 1993) (“The putpose of section 364(e) is to allow good-faith lenders to rely upon conditions at
the time they extend credit and to encourage lenders to lend to bankrupt entities.”).

37. As explained above, the DIP Facility is the result of the Debtors’ reasonable and
informed determination that the terms offered were the most favorable terms on which to obtain
needed post-petition financing, and of extended arm’s-length, good-faith negotiations between the
Debtors and Bart Reagor and Rick Dykes and IBC Bank. The terms and conditions of the DIP
Facility are fair and reasonable, and the proceeds under the DIP Facility will be used only for

purposes that are permissible under the Bankruptcy Code. Further, no consideration is being

ptovided to any patty to the DIP Facility other than as described herein.

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38. Accordingly, the Court should find that Bart Reagor, Rick Dykes, and IBC Bank ate
all “good-faith” lenders within the meaning of section 364(e) of the Bankruptcy Code, and are
entitled to all of the protections afforded by that section.

D. The DIP Facility is Necessary to Preserve the Estates

39. It is essential that the Debtors immediately instill their employees with confidence in
the Debtors’ ability to continue meeting payroll obligations in order to retain the remaining essential :
employees that are vital to the continued operation of the Debtors’ business. Without the
employees, the Debtors cannot operate.

40. The continuation of the Debtors’ operations as a going concern is the only hope of a
meaningful recovery for the Debtors’ creditors. Accordingly, the Debtors submit that their need for
approval of the DIP Facility is immediate.

E, The Terms of the DIP Facility Are Fair, Reasonable, and Appropriate

41, The terms and conditions of the DIP Facility were negotiated by the parties in good
faith and at arms’ length. In the reasonable exercise of the Debtors’ business judgment, the DIP
Facility is the best financing option available under the Debtors’ present citcumstances. The
purpose of the DIP Facility is to enable the Debtors to continue to operate and to emerge from
Chapter 11. Further, the DIP Facility does not, directly or indirectly, materially deprive the Debtors’
estates or other parties-in-interest of possible tights and powers by restricting the services for which
professionals may be paid in this case. Sve Ames, 115 B.R. at 38 (observing that courts insist on
catve-outs for professionals representing patties-in-interest because “absent such protection, the
collective tights and expectation of all parties-in-interest are sorely prejudiced”).

42. The proposed DIP Facility generally provides that the protections granted to Bart
Reagor, Rick Dykes, and IBC Bank herein and in the Term Sheet for the obligations under the DIP

Facility are subject to the Carve-Out Expenses, as described above. In Ames Dept. Stores, the

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bankruptcy court found that such “carve-outs” for professional fees are not only reasonable but
necessary to ensure that official committees and the debtor’s estates are adequately assisted by
counsel. See-Ames, 115 B.R. at 40.

43. Likewise, the various fees and charges required under the DIP Facility are reasonable
and appropriate under the citcumstances. Courts routinely authorize similar lendet incentives
beyond the explicit liens and rights specified in section 364 of the Bankruptcy Code. See In re
Defender Drug Stores, Inc, 145 B.R. 312, 316 (9th Cir. BAP 1992) (approving financing facility
pursuant to section 364 of the Bankruptcy Code that included a lender “enhancement fee”).

44. The fairness and reasonableness of the terms of the DIP Facility will further be
demonstrated at the Interim Hearing.

E. Application of the Business-Judgment Standard

45. After appropriate investigation and analysis, the Debtors have concluded that the
DIP Facility is the only alternative available under the circumstances of these cases. Bankruptcy
courts routinely defer to a debtor’s business judgment on most business decisions, including the
decision to borrow money, unless such decision is arbitrary and capricious. See In re Trans World
Airlines, Inc, 163 B.R. 964, 974 (Bankr. D. Del. 1994) (noting that an interim loan, receivables
facility, and asset-based facility were approved because they “teflect[ed] sound and prudent business
judgment, .. . [and were] reasonable under the citcumstances and in the best interest of [the debtor]
and its creditors”); In re Simasko Prods. Co., 47 B.R. 444, 449 (D. Conn. 1985) (“[B]usiness judgments
should be left to the board room and not to this Court.”). Indeed, “more exacting scrutiny [of the
debtor’s business decisions] would slow the administration of the debtor’s estate and increase its
cost, interfere with the Bankruptcy Code’s provision for private control of administration of the
estate, and threaten the coutt’s ability to control a case impartially.” Réchwond Leasing Co. v. Capital

Bank, NA., 762 F.2d 1303, 1311 (5th Cir. 1985).

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46. The Debtors have exercised sound business judgment in determining that the DIP
Facility is appropriate and have satisfied the legal prerequisites to incur debt on the terms and
conditions set forth herein and in the Tetm Sheet. The terms of the DIP Facility are in the best
interests of the Debtors, their creditors, and the Estates. Accordingly, the Debtors should be
gtanted authority to enter into the DIP Facility and to obtain funds thereunder on the bases
described above pursuant to section 364(c).

F. Interim Approval Should Be Granted

47. Pursuant to Bankruptcy Rule 4001(b)(2) and (c)(2), a final hearing on the Motion
may not be commenced before 14 days after service of that Motion. Fed. R. Bankr. P. 4001. This
Court may, however, conduct a preliminary heating before the expiration of that 14-day petiod and
likewise authorize the incurrence of DIP Facility as provided in the Term Sheet to the extent
necessaty to avoid immediate and irreparable harm to the debtor’s estate.

48. Subsequent to the filing of this Motion, and subject to the terms of the Term Sheet,
the Debtors, Bart Reagor, Rick Dykes, the Plan Sponsor, and IBC will draft, negotiate, finalize, and
file with this Court appropriate documentation as required by the Bankruptcy Code and the Rules,
to set forth in detail the terms of the DIP Facility.

49. In examining requests under this Bankruptcy Rule, courts apply the same business-
judgment standard as is applicable to other business decisions. See Ames, 115 B.R. at 38. After the
14-day period, the request for financing is not limited to those amounts necessary to prevent the
destruction of the debtor’s business, and the debtor is entitled to borrow those amounts that it
believes are prudent to the operation of its business. Id at 36. The Debtors submit that they need
the funding provided by the DIP Facility on an interim basis to avert immediate and irreparable

hatm to its business and to preserve the necessary operations.

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50. The Debtors request that the Court conduct an expedited interim hearing on the
Motion and authorize the Debtors from and after the entry of the Interim DIP Order to obtain
credit under the DIP Facility. As part of the Motion, but subsequent to the Court’s expedited
hearing on the Motion on the first $1.0 million of the DIP Facility, the Debtors request the Coutt to
conduct a preliminary hearing on the Motion and the remaining $3.75 million and authorize the
Debtors to such the DIP Facility from and after entry of the order approving such financing as
provided in the final documentation related to the DIP Facility, subject to and consistent with Term
Sheet.

V.
CHECKLIST

51. Given the emergency nature of this Motion, the Debtors have not yet prepared the
Attorney Checklist Concerning Motions and Orders Pertaining to the Use of Cash Collateral in a format
conforming to Appendix H of the Banktuptcy Local Rules (the “Checklist”). However, the
Checklist will be prepared and filed by the Debtors as expeditiously as possible, and before any final
hearing scheduled on this Motion.

VI.
NOTICE

52. Notice of this Motion will be given to the following: (a) the Office of the United
States Trustee; (b) the Prepetition Lenders; (c) all creditors known to the Debtors who have or may
assett liens against the Debtors’ assets; (d) the United States Internal Revenue Service; (e) the twenty
(20) largest unsecured creditors of the Debtors; and (f) all parties in interest who have filed a notice
of appearance or on whom service must be effected under the Federal Rules of Bankruptcy
Procedure. Given the nature of the relief requested herein, the Debtor submits that no further

notice is required.

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WHEREFORE, the Debtors respectfully request the entry of an order granting the relief

requested hetein, and granting such other and further relief as is just and proper.

DATED: January 8, 2019

Respectfully submitted by:

/s/ Marcus A. Helt

Marcus A. Helt (TX 24052187)

C. Ashley Ellis (TX 00794824)
Melina T. Bales (IX 24106851)
FOLEY GARDERE

FOLEY & LARDNER LLP
2021 McKinney Avenue, Suite 1600
Dallas, TX 75201

Telephone: 214.999.3000
Facsimile: 214.999.4667

COUNSEL TO DEBTORS REAGOR-
DYKES MOTORS, LP, et al.

CERTIFICATE OF SERVICE

I hereby certify that, on January 8, 2019, a true and correct copy of the foregoing document
was setved electronically by the Court’s PACER system.

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/s/ Marcus A. Helt
Marcus A. Helt
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The following is IBC’s proposed terms with respect to IBC DIP Facility (defined below) and the Chapter 11
Plan of Reorganization of the Reagor-Dykes debtor entities (“plan” or “Plan”):

1. DIP Facility:

a. Principal Amount: $4.75 million

b. Lenders and Amounts:

i. IBC Bank - $2 million initially (“IBC Phase | DIP Facility”) and with the potential of
an additional $1.75 million (“IBC Phase I! DIP Facility” and together with IBC
Phase | DIP Facility, “IBC DIP Facility”).

1. IBC DIP Facility supported by appropriate credit support to be
determined later by IBC and McDougal Group Entity(ies) (“Plan
Sponsor”) or individual members of the Plan Sponsor, as applicable.

2. IBC Phase II DIP Facility is not based on the sale of Amarillo dealership,
including real estate. If such assets are sold, IBC must consent to release
price for real estate and proceeds of same being paid to IBC.

3. Funding of IBC DIP Facility, is conditioned upon all terms set forth
herein.

ii. Plan Sponsor - $1 million (“Plan Sponsor DIP Facility”).

1. Plan Sponsor DIP Facility will be first DIP loan proceeds in and to be
documented by debtors and Plan Sponsor, subject to terms being
consistent with this term sheet and IBC’s review and approval (with
such approval not being unreasonably withheld, conditioned or
delayed).

2. Plan Sponsor DIP Facility shall be fully subordinated and junior to IBC
DIP Facility immediately upon the first funding of the IBC DIP Facility.

3. Upon plan confirmation,’ the Plan Sponsor DIP Facility may be (i) paid in
full; (ii) assumed by reorganized debtors or Plan Sponsor, (iii) refinanced
by reorganized debtors or Plan Sponsor; or (iv) addressed in any other
manner acceptable to reorganized debtors and Plan Sponsor. Under any
scenario, all on terms acceptable to Plan Sponsor and the other parties
involved.

c. General Structure: Existing Debtors become DIP borrowers. IBC’s funding of IBC Phase |
DIP Facility will commence upon exhaustion of Plan Sponsor DIP Facility, provided that
IBC’s funding on IBC Phase | DIP Facility is subject to and consistent with weekly budgets
approved by IBC. IBC funding of IBC Phase II DIP Facility will commence upon exhaustion
of IBC Phase | DIP Facility, provided that IBC’s funding of IBC Phase II DIP Facility is
subject to and consistent with weekly budgets approved by IBC.

d. General Terms of IBC DIP Facility Revolver:

i. Initial term of IBC DIP Facility to be the period from date of execution of IBC DIP
Facility loan documents through confirmation of a plan. During the initial
period, interest will accrue monthly at 6% fixed per annum on the IBC DIP
Facility and be paid monthly.

ji. Upon plan confirmation, one of the following shall occur (1) the IBC DIP Facility
shall be paid in full, (2) the Plan Sponsor will assume the IBC DIP Facility or (3)

 

1 The use of “upon plan confirmation” throughout this Term Sheet refers to and means for all purposes
the “Effective Date” of the confirmed chapter 11 plan of the Debtors.

EXHIBIT

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the reorganized debtors will assume the IBC DIP Facility (items (2) and (3) are
collectively, “Assumed IBC DIP Facility”).

iii. Upon plan confirmation, the terms of the Assumed IBC DIP Facility will be ona
5-year amortization and term and accrue interest at a fixed rate of interest of
6% per annum.

iv. In the event plan confirmation does not occur, the IBC DIP Facility will be an
obligation of the debtors’ bankruptcy estate with IBC having such rights
provided for in any orders of the U.S. Bankruptcy Court for the Northern District
of Texas (Lubbock Division) granting and authorizing the IBC DIP Facility, the
underlying loan documents documenting the IBC DIP Facility, or by applicable
law.

Liens/Rights Bankruptcy Code: IBC DIP Facility secured by rights under Section 364(c) of
the Bankruptcy Code—super priority administrative expense claim, liens on property of
estate not already subject to a lien, and a junior lien (“364(c) Rights”), subject to a carve-
out for allowed professional fees not to exceed $900,000.

2. Real Estate - IBC Existing 3 Loans:

a. Three Real Estate Loan Amounts: As of 1-4-19, principal balance is $33,966,954.197 with
combined accrued interest as of 1-4-19 of $407,099.58 and a per diem of $5,540.24
thereafter. All accrued and unpaid interest to be paid upon plan
confirmation/assumption.

b. Assumption: As part of the chapter 11 plan, the Plan Sponsor (or a special purpose
entity of the Plan Sponsor) (in either case “Assumed Borrower”) will be obligated to
assume the IBC Real Estate Loans secured by the real estate currently pledged to IBC as
collateral (“IBC Real Estate Loans”). In the event a plan is not confirmed, neither the
debtors nor the Plan Sponsor will have any obligation to assume the IBC Real Estate
Loans.

c. General Terms of Assumption: Upon plan confirmation, the assumed IBC Real Estate
Loans will have the following terms: a 20-year amortization; 6.5-year balloon (monthly
interest only for first 18 months after plan confirmation followed by 5 years of principal
and interest payments); the Assumed Borrower and IBC will enter into a rate-swap
transaction whereby Assumed Borrower will pay a fixed rate based on IBC receiving a
floating rate of 30 day LIBOR plus 250 basis points per annum using the fixed rate
offered by IBC’s counterparty.

d. Rent Concession, Collateral, Credit Support and Recourse:

i. 1BC will continue to provide rent concessions on IBC Real Estate Loans until May
1, 2019. Upon confirmation, IBC will agree that it has no administrative expense
against the debtors’ bankruptcy estates with respect to unpaid or deferred rent
related to the IBC Real Estate Loans.

ii. Assumed Borrower becomes the borrower of IBC Real Estate Loans upon
confirmation and liens on real estate currently pledged to IBC remain in place
and are amended or ratified, as necessary, by Assumed Borrower.

 

2 Note, IBC’s loan documents create all “Obligations” owed by D and R Acquisitions to IBC to include,
among other things, overdrafts by D and R Acquisitions and the guarantors. IBC has elected as part of
this term sheet to not include the approx. $2 million of overdraft attributable to D and R Acquisitions.

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iii. Assumed IBC Real Estate Loans will be with recourse on (i) real estate and (ii)
against Assumed Borrower, but no other credit support or guaranties will exist
on the IBC Real Estate Loans except as provided in sub-section (iv) below.

iv. Because of Assumed Borrower’s assumption of the IBC Real Estate Loans, D and
R Acquisitions, L.L.C. will transfer the real estate securing IBC’s Real Estate Loans
to Assumed Borrower. Upon such transfer and assumption of the IBC Real
Estate Loans, all currently existing borrowers, co-borrowers, and guarantors
shall be released, provided that any current guarantor of such loans that is a
member of or otherwise has a financial or ownership interest, whether directly
or indirectly, in the Plan Sponsor (or affiliates thereof) will remain a guarantor of
the assumed IBC Real Estate Loans.

3. Miscellaneous and Conditions:

a. Assumes plan confirmation on or before May 1, 2019.

b. In connection with IBC DIP Facility and/or the Plan, Debtors will grant IBC an allowed
unsecured claim for approximately $2.6 million for overdraft liability (“IBC Unsecured
Claim”).

c. For the avoidance of doubt, in the event plan confirmation does not occur on or by May
1, 2019, IBC’s rights and remedies with respect to the IBC DIP Facility or the IBC Real
Estate Loans are preserved and unaffected and IBC shall be entitled to exercise any and
all available remedies.

d. IBC’s obligations, including but not limited to funding any part of IBC DIP Facility, are
subject to all of the following conditions being satisfied (in IBC’s sole discretion):

i. Full due diligence, approval and underwriting by IBC, including Plan Sponsor or
individuals of Plan Sponsor for credit support on IBC DIP Facility, Assumed IBC
DIP Facility, as applicable, and assumption of IBC Real Estate Loans;

ii. Acceptable credit support from Plan Sponsor or individual members of Plan
Sponsor for IBC DIP Facility (as decided in 1(b)(i)(1) above) and, for the
avoidance of doubt, credit support for the IBC DIP Facility shall carry over and
pertain to the Assumed IBC DIP Facility;

iii. Plan Sponsor DIP Facility being fully funded and exhausted pursuant to weekly
budgets approved by IBC;

iv. Bankruptcy Court Order approving IBC DIP Facility on interim and final basis,
including granting IBC 364(c) Rights, and entry of order allowing the IBC
Unsecured Claim;

v. Debtors’ Plan being consistent and structured in accordance with the terms set
forth herein, including appropriate plan modifications, amendments or
supplements in form and content acceptable to IBC to address any differences
between terms herein and in Plan to be filed by debtors on or before 1-8-19. No
further plan modifications, amendments or supplements without IBC’s prior
written consent, which shall not be unreasonably withheld or given;

vi. Documentation and terms of IBC DIP Facility, assumption of IBC Real Estate
Loans, and Plan acceptable to IBC, including events of default provisions for IBC
DIP Facility, benchmarks/milestones being met, no further or other debt being
incurred by debtors;

vii. Final approval by IBC Bank;

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viii. No material adverse changes, as determined by IBC, in debtors’ operations or
debtors’ bankruptcy cases, including, but not limited to, material creditors
obtaining relief from automatic stay; and

ix. All other terms set forth herein.

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